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UNITED STATES DISTRICT COURT

 

EASTERN DISTRICT OF NEW YORK FILED ON: 9/24/202f INDEX NO.: 1:21-CV-05201-BMC
JASON CAMACHO, for himself and on behalf of all other persons similarly situated Plaintiff(s)-Petitioner(s)
-Vs-

GRAHAM SHAY 1857 INC.
Defendant(s)-Respondent(s)

 

STATE OF NEW YORK }
COUNTY OF SARATOGA ss.}

I, Mark McClosky being duly sworn, deposes and says that deponent is over the age of
eighteen years and is not a party in this proceeding and resides in the State of New York.

On SEPTEMBER 24, 2021 at 2:00 P.M.
Deponent served a true copy of SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT AND JURY DEMAND

bearing index number: 1:21-CV-05201-BMC and date of filing: 9/24/2021
upon GRAHAM SHAY 1857 INC.

at address: SECRETARY OF STATE, 99 WASHINGTON AVENUE

city and state: ALBANY, NY 12210

MANNER OF SERVICE}

Persanal
Cy] By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served,
Suitable Age Person
Cc By delivering and leaving with personally}
at the premises which is recipient’s actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion.
Authorized Agent
By delivering and leaving 2 copies with} NANCY DOUGHERTY, BUSINESS DOCUMENT SPECIALIST
the agent for service on the person in this proceeding designated under 306 BCL. Service having been made to such person at
the place, date and time above.

Affixing to Door, Bic,
T] By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person of suitable age and
discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the
following dates and times:

Mailing

|] Deponent completed service by depositing a true copy of each in a postpaid, properly addressed envelope in an official depository

under the exclusive care and custody of the United States Postal Service. The package was labeled “Personal & Confidential”
and mailed to the person stated above at address
on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action
against the recipient. The envelope was mailed by_first class mail certified mail__registered mail__return receipt requested.
Certified/Registered mail #

 

DESCRIPTION} deponent describes the person actually served as:

 

 

Sex: FEMALE Race/Skin Color: WHITE Yair Color: BROWN
Approximate Age: 55 years Approximate Height: 5°3” Approximate Weight: 130 pounds...
Other: \ of

a vf
stores and sworh before me on} SEPTEMBER 24, 2021

Law Office of Justin A. Zeller, P.
Notably Public, State of New York C. _ Mark McClosky
Karen E. Rock 277 Broadway Ste. 408 Deponent
Qualified in Schenectady County New York, NY 10007
Number 01806065213
Expires: October 9, 202]
NLS #: 241538 FIRM FILE # 1358

Affidavit #, 21-9391
